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                                                             THE HONORABLE JAMES L. ROBART




                                     IN THE UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF WASHINGTON
                                                 AT SEATTLE

 WIZARDS OF THE COAST LLC,                                 Civil Action No. 2:14-cv-00719-JLR.

                                    Plaintiff,             SECOND AMENDED COMPLAINT FOR
                                                           COPYRIGHT, PATENT AND TRADE
            v.                                             DRESS INFRINGEMENT

 CRYPTOZOIC ENTERTAINMENT, LLC,
 and HEX ENTERTAINMENT, LLC,
                                                           JURY TRIAL REQUESTED
                                    Defendants.

           Plaintiff Wizards of the Coast LLC (“Wizards”) hereby alleges the following causes of

action against Defendants.

                                           I.     NATURE OF THE ACTION
           1.           This action results from Defendants’ blatant and willful misappropriation and

infringement of Wizards’ most valuable intellectual property assets pertaining to its “Magic: The

Gathering®” trading card game and trading cards (“Magic”).

           2.          Wizards is a worldwide leader in the trading card game and role-playing game

categories, and a leading developer and publisher of game-based entertainment products.

Wizards develops, manufactures, and distributes the popular and unique Magic trading card

game in both paper and digital formats.

           3.          Upon information and belief, in a deliberate attempt to profit from Wizards’

valuable intellectual property and hard-earned reputation, Cryptozoic Entertainment, LLC



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(“Cryptozoic Entertainment”) and Hex Entertainment, LLC (“Hex Entertainment”) (collectively

“Cryptozoic”) have developed and marketed the game “Hex: Shards of Fate,” (“Hex”) through

which Cryptozoic intentially and willfully copied the look and feel, the ornamental aspects, and

the pleasing and ornamental layout of the functional features of Magic trading cards. Cryptozoic

Entertainment and Hex Entertainment have, further, implemented those copied playing cards in

promulgation of a game that substantially duplicates the mechanics, plot, actions and elements of

Magic, often retaining the same name for actions within the game play.

           4.          Mr. Cory Jones (hereinafter “Jones”), is a former professional Magic competitor

in competitions Wizards sponsored to promote the Magic game and, as a competitor, became

intensely familiar with the Magic game. Jones founded and serves as President of each of

Cryptozoic Entertainment, LLC and Hex Entertainment, LLC, the Defendants. His knowledge of

the Magic game, garnered in professional play, is attributable to each of the defendants by virtue

of his role as an executive officer. Upon information and belief, Jones was involved in all

decisions as to the nature of playing cards and mechanics of play in the infringing Hex game.

           5.          Moreover, Cryptozoic’s willful intent to trade off of Wizards’ intellectual

property and to create a false association between Hex and Magic is evident by the fact that it

chose to copy the distinctive Magic playing pieces. Wizards brings this suit to address its

considerable losses and prevent the continued willful infringement of its valuable intellectual

property rights. Cryptozoic’s willful and malicious misappropriation has caused and will

continue to cause irreparable and continuing harm to Wizards.

           6.          This action arises out of Cryptozoic’s development of both electronic and printed

cards which in game play willfully infringes upon the world-famous game Magic and its iconic

selection and presentation of information. Through both of a Kickstarter™ funding campaign

where the similarity to Magic is made evident to likely purchasers of the opportunity to play the

game and through the distribution of printed cards which infringe the copyright, Cryptozoic has




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traded off of Wizards’ intellectual property and created a false association between its infringing

game, Hex wich clearly trades off of the original and distinctive elements of the Magic game.
           7.          As the following comparison illustrates, Hex playing cards are obvious
duplicates of the playing cards in Wizards’ iconic Magic game:




Defendants’ Hex Playing Card named                      Wizards’ Playing Card named “Black Lotus”
“Spiritual Lotus.”                                      and registered with the Copyright Office
                                                        under Registration VA00005965507; dated
                                                        12/13/93
           8.          After learning of the Kickstarter Offering to support the development of the Hex

game, Wizards notified Cryptozoic of such changes as it would find sufficient to differentiate the

Hex game from Magic. After laying out the nature of the infringement to Cryptozoic’s attorney,

Wizards continued to negotiate for changes to facilitate development of Hex as a similar but
sufficiently distinct trading card game, thereby allowing both to complement each other in the

market. Ultimately, Cryptozoic indicated through counsel that it was unwilling to make material

changes to accommodate Wizards’ assertions of its intellectual property in the Magic game.

Negotiations reached impasse.

           9.          Accordingly, due to Cryptozoic’s blatant and willful infringement and apparent

refusal to cease and desist, Plaintiffs have no choice but to file this lawsuit seeking injunctive

relief and damages that they have suffered as a result of Defendant’s (a) copyright infringement



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under the Copyright Act of 1976, as amended, 17 U.S.C. § 101 et seq., (b) false designation of

origin, false endorsement, and unfair competition under the Lanham Act, 15 U.S.C. §

1125(a)(1)(A).

                                    II.    JURISDICTION AND VENUE
           10.         This Court has original jurisdiction over this action pursuant to 28 U.S.C. §§ 1331

and 1338 because this action alleges violations of federal statutes including the Copyright Act

(17 U.S.C. § 101), the Lanham Act (15 U.S.C. §§ 1114), and the Patent Act (35 U.S.C. §§ 101).

           11.         This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332 (diversity jurisdiction).

           12.         This Court has personal jurisdiction over Defendant because it purposely availed

itself of the jurisdiction of federal district court in the Western District of Washington.

           13.         Upon information and belief, this Court has personal jurisdiction over Defendants

Cryptozoic because they regularly transact business within the Western District of Washington,

has contracted to sell the opportunity to play Hex and distributed printed Hex playing cards to

citizens of Washington residing within the Western District, and has distributed, offered for sale,

sold and advertised Hex throughout the United States, including Washington and this judicial

district.

           14.         In a fundraising effort on the Kickstarter.com website, Cryptozoic Entertainment

is identified as the entity developing the Hex: Shards of Fate game; yet, when a citizen of

Washington residing in the Western District sent money to effect purchase of a membership

enabling Hex game play, thereby to support the development of the game, that citizen received

email correspondence from Hex Entertainment, rather than Cryptozoic Entertainment. Because

of the apparent cooperation between the entities to effect this sale within the Western District,

personal jurisdiction over each within this judicial district is proper.

           15.         Upon information and belief, there were a pattern of such advanced sales within

the District such that the defendant “conducted business” over the Internet by engaging in


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repeated or ongoing business transactions with forum residents. Each advance sale of

membership anticipates that each forum resident will have ongoing communication with

Cryptozoic in order to play the Hex game. Further, as play facilitated through the Internet will

require ongoing deliberate and repeated republications of the infringing works with these same

residents of the forum such that personal jurisdiction within the forum is appropriate.

           16.         Further, as the Magic Online resides on servers within the district and because the

Cryptozoic employees repeated played the Magic game as alleged herein, and these acts were

necessary to copy the protected elements of Magic Online, that play occurred through interaction

with Wizards’ own servers located within the district, personal jurisdiction within the District is

also appropriate.

           17.         Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) as Defendant

has committed tortious acts in this jurisdiction; a substantial part of the events giving rise to the

claim occurred here; and a substantial part of the property that is the subject of the action is

situated here.


                                            III.    THE PARTIES
           18.         Wizards is a Delaware limited liability company, maintaining its principal place

of business at 1600 Lind Avenue Southwest, Suite 400, Renton, Washington 98057.

           19.         Cryptozoic Entertainment is a California limited liability company maintaining its

principal place of business at 25351 Commercentre Drive, Suite 250, Lake Forest, California

92630. Hex Entertainment is a California limited liability company maintaining its principal

place of business at the same address as that of Cryptozoic Entertainment, 25351 Commercentre

Drive, Suite 250, Lake Forest, California 92630.

           20.         Upon information and belief, Cryptozoic Entertainment and Hex Entertainment

are cooperating in the development of the Hex: Shards of Fate game for their mutual benefit such

that actions complained of herein of one are legally chargeable to the other. Hex Entertainment is


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merely an “alter ego” of Cryptozoic Entertainment. For this reason, the allegations of this

complaint identify the Defendants, collectively, as “Cryptozoic.”

                                       IV.     GENERAL ALLEGATIONS
           21.         Magic: The Gathering is a trading card game created by Richard Garfield and first

published in 1993 by Wizards of the Coast. Magic is a true original--the first collectable trading

card game produced. Recognized for its unique game play, Magic has won numerous awards,

including the Mensa Select Award, the Origins Awards for Best Fantasy or Science Fiction

Board Game and the Best Graphic Presentation of a Board Game, the Deutscher Spiele Preis’

Special Award for New Game Mechanics, the Italian Gaming Society’s Gioco dell'Anno Award

and the Super As d'Or award for Best New Game Concept and Genre Introduced in France.

Magic has attracted a large following and continues to thrive, with more than twelve million

players as of 2013. Magic can be played by two or more players each using a deck of printed

cards or a deck of virtual cards through the Internet-based games, Magic: The Gathering Online

(“Magic Online”) and Magic: The Gathering – Duels of the Planeswalkers (further described

below).

           22.         Magic is currently available in eleven languages – English, French, German,

Italian, Russian, Spanish, Portuguese, Japanese, Spanish, Chinese Traditional and Chinese

Simplified, with players and fans in more than 70 countries worldwide.

           23.         Magic is played using elaborately illustrated cards that transport players into an

imaginary realm in which they do battle with one another. In playing Magic, players take on the

role of Planeswalkers – powerful mages who battle others for glory, knowledge, and conquest.

Each game represents a battle between Planeswalkers, who employ spells, artifacts, and creatures

depicted on individual Magic cards to defeat their opponents. A player starts the game with

twenty “life points” and loses the game when he or she is reduced to zero life points. Players lose

life points when they are dealt “damage” by being attacked with summoned creatures or when




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spells or other cards cause them to lose life directly. A player can also lose if he or she must

draw from an empty deck (called the “library”) during the game.

           24.         Each player needs a deck to play a game of Magic. The cards that make up the

deck include play elements; The two basic kinds of cards in Magic are “spells” and “lands”.

Lands provide “mana”, or magical energy, which is used as magical fuel when the player

attempts to cast spells. Players may only play one land per turn. More powerful spells cost more

mana, so as the game progresses more mana becomes available, and the quantity and relative

power of the spells played tends to increase. Some spells also require the payment of additional

resources, such as cards in play or life points.

           25.         To begin play, a player selects cards from their library (library being the term to

describe a player’s collection of cards available for play) to build a deck. Deck building requires

a lot of strategy in that players must choose among thousands of cards which they want to play.

Selection of cards to build a deck requires players to evaluate the power of their cards in their

libraries, as well as the possible synergies between them, and their possible interactions with the

cards they expect an opponent to play against them. Importantly, each card has qualities that

define mechanics of play as a consequence of invoking that card. The card also has elements of a

story and artwork to enhance the story. These elements and mechanics vary by card and are

unique to that card.

           26.         To construct a library, players can purchase starter game sets, theme decks and

booster packs. In most tournament formats, decks are required to be a minimum of sixty cards,

with no upper limit so the design of the rules encourages multiple purchases of game sets to

build a more comprehensive library. Players may use no more than four copies of any named

card, with the exception of “basic lands”, which act as a standard resource in Magic, and some

specific cards that state otherwise. In “limited” tournament formats, where a small number of

cards are opened for play from booster packs or tournament packs, a minimum deck size of forty

cards is used. Depending on the type of play, some cards have been “restricted” (the card is


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limited to a single copy per deck) or “banned” (the card is no longer legal for tournament play).

These limitations are usually for balance of power reasons, but have been occasionally made

because of gameplay mechanics.

           27.         Each Magic card, approximately 63 x 88 mm in size (2.5 by 3.5 inches), has a

“face” which displays the card's name, an illustration appropriate to the card's concept, and

written instructions which direct how that card can be played. Approximately fourteen thousand

(14,000) unique cards have been produced for the game as of March, 2014, many of them with

variant editions, artwork, or layouts, and 600–1000 new cards are added each year. Wizards has

printed over six and one-half billion (6,500,000,000) Magic cards.

           28.         Players begin the game by shuffling their decks and then drawing seven cards.

Players draw one card at the beginning of each turn, except the first player on the first turn.

Players alternate turns consisting of several phases. Most cards can only be played during the

main phase of the player's own turn. The player whose turn it is always has the first chance to

play cards. At the end of a player's turn, if that player has more than seven cards in hand, the

player discards until his or her hand contains seven cards. The contents of other players' decks

and hands are not usually known to players.

           29.         The two basic kinds of cards in Magic are “lands” and “spells.” Land cards

provide “mana,” or magical energy, which is used as magical fuel when the player attempts to

cast spells. Players may only play one land card per turn. More powerful spells cost more mana,

so more mana becomes available as the game progresses, and the quantity and relative power of

the spells played tends to increase. Some spells also require the payment of additional resources,

such as cards in play or life points. Spells come in several varieties: “sorceries” and “instants”

have a single, one-time effect before they go to the “graveyard” (discard pile); “enchantments”

and “artifacts” are “permanents” which remain in play after being cast to provide a lasting,

magical effect; “creature” spells (also a type of permanent) summon creatures that can attack and




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damage an opponent. The Magic card set Lorwyn introduced the “Planeswalker” card type,

which represents a powerful hero who fights with his or her own magic abilities.

           30.         The popularity and sophistication of Magic is such that tournaments of all sizes

regularly occur, including tournaments with many hundreds of players from various countries. In

1994, Wizards instituted the DCI (formerly the “Duelists’ Convocation International”), the

official sanctioning body for enforcing rules and promoting fairness in competitive Magic

tournament play. The DCI publishes tournament rules and operating procedures and sanctions

tournaments. Since its inception, the DCI has sanctioned more than 3 million tournaments

worldwide and millions of unique players. In order to play in sanctioned events, players must

register for membership and receive a DCI number. The DCI maintains a global player ratings

database and members have access to their entire tournament history online.

           31.         Jones has been a member of the DCI since January 13, 1996. In his capacity as a

competitive Magic player, , Jones became intimately familiar with the rules of Magic and the

various cards that constitute the Magic game. Since joining the DCI, Jones has participated in

over 150 Organized Play events – including eight Pro Tour appearances. Jones’ most recent

Organized Play event occurred on November 19, 2005 – a Pro Tour Qualifier event in Anaheim,

CA. A complete breakdown of Jones’ Organized Play participation breaks down as follows:


                                    Event Type                Event Count

                                Magic Pro Tour                      8

                         Magic Pro Tour Qualifier                   44

                               Magic Grand Prix                     2

                           Magic Grand Prix Trial                   2

                         Magic National Qualifier                   4

                               Magic Prerelease                     3



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                            General Magic Event                        88

                          Eight Players Side Event                      1

                          Side Events - Prerelease                      1


The point totals reflected above show Jones to be intimately familiar with the game and as

having had access to the copyrighted material asserted herein.

           32.         Magic Online is an Internet-based video game operated by Wizards that utilizes

the same mechanics and game play of Magic, thereby allowing players to play across great

distances and outside of one another’s immediate presence. Magic Online went “live” on June

24, 2002. Magic Online users can play the Magic game or trade digital cards with other users.

           33.         Magic Online is played as an electronic analogue to the physical card game such

that strategy and mechanics learned in the trading card version of Magic are immediately

transferrable to Magic Online. And while it is the rarer case, Magic Online players can just as

readily pick up a deck of Magic cards and immediately play the game. Digitized artwork

reproduces the look of Magic, and in using a mouse, users click on cards to play them on a

virtual tabletop. Each game is hosted by the server, which applies a rules engine to enforce

proper play.

           34.         Players are free to set up or join games of their choice. In addition, official events

such as 8-man constructed, limited sealed deck and drafts, as well as larger tournaments take

place according to a regular schedule. Magic Online digital card sets are released online shortly

after they are released in paper form, thereby preserving the similarity of play.

           35.         Additionally, in 2009 Wizards began distributing its now annualized video game,

Magic: The Gathering – Duels of the Planeswalkers with sequels released in 2011, 2012, 2013,

and, most recently, on July 15, 2014 (collectively, “Duels”). Duels follows the standard rules of

Magic and features player vs. environment and player vs. player modes, as well as campaigns,

individual player unlockable features, puzzles, downloadable content, and in-game item



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purchases. With millions of worldwide downloads and in-game purchases, Duels is available on

PC, Xbox 360, Xbox One, PlayStation 3, PlayStation 4 and Apple and Android tablets.

           36.         Wizards has taken prudent steps to preserve the game against copying. Appendix

1 hereto includes a list of copyrights granted and those currently filed and pending which protect

the several expressions of Magic including, but not limited to, the protectable visual arts of its

cards.

           37.         Further, in 1997, Wizards received a patent on the technology it pioneered in

developing Magic, United States Patent No. 5,662,332 (“the ‘332 patent”), whose claim set was

enhanced by a re-issuance of the patent in 2003, as United States Patent No. RE 37,957 (“the

‘957 patent”). The ‘957 patent issued with 60 claims, including over 25 independent claims,

which define both a card game that uses either trading cards or a computer-generated image

thereof and a method of playing the game.

           38.         Magic has succeeded with a loyal following; the magnitude of which has caused

some competitors to publish imitations, and on several occasions Wizards has identified and

resolved instances of infringement. The look of the cards is instantly recognizeable in the

community due to its famous trade dress. Given the wide-spread popularity of Magic and its

position in the gaming ecosystem, there can be no doubt that Cryptozoic had access to every

card, whether tangible or virtual, including all cards protected by the copyright registrations and

applications contained in Appendix 1.

           39.         As Crytozoic began to design and develop the game that would become Hex, it

borrowed very heavily from extant cards that had been released in various of the sets of cards

sold by Wizards in it several releases of cards formed according to the patent. With each release

of cards, Wizards sought copyright protection.

           40.         One example of such a card is the “Murder” card promulgated by Wizards in

2012. It was derived from earlier versions known as “Dark Banishing” in the Ice Age release

(shown here), which received registration serial VA0000683010 with the date December 3,


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1996, and in the Mirage edition VA0000830465 on the same date; in a

later special edition called Tempest, the registration was granted as

VA0000929289 on May 1, 1998. In the 7th Edition, Wizards registered

a copyright on the set with a serial number VA0001099267 with the

registration May 3, 2001; in a later release, the 8th Edition Magic

preserved the new deck as a derivation of the older deck in

VA0001212928 dated September 24, 2003; a further derivation

appeared in the 9th Edition which was granted the serial number

VA0001360182 on May 24, 2006.

           41.         Dark Banishing was derived from an earlier card,

“Terror” (as shown here) and was protected in several sets released in

the following sets registered as follows: the Alpah/Beta/Unlimited set –

VA0000596507 dated December 13, 1993; Revised – VA0000711530;

January 23, 1995; a Fourth Edition – VA0000750636, with registration

date March 29, 1996; in a Fifth Edition – VA0000875745, dated

August 13, 1997; in a Tenth Edition – VA0001622983, dated August

17, 2007.

           42.         In 2012, Wizards modified the card to portray a wizened bearded man in a

darkened setting engulfed in shadows and, again, bearing the legend

“Murder” and includes the plot elements to “destroy target creature”

and categorization “Instant”. Wizards protected this derivation with a

registration VA0001868160 granted on August 15, 2012 and shown

above.

           43.         Crytozoic copied the Wizards card presenting a Hex

card entitled “Murder” shown here and including a wizened bearded

man in a darkened setting engulfed in shadows and, again, bearing the


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legend “Murder” and includes the plot elements to “destroy target

non-artifact troop” and categorization “Quick Action” (Hex’s “Quick

Action” is the exact same game play mechanic as Magic’s “Instant”).

The card is clearly a derivation and never authorized by Wizards, the

holder of the registrations described herein.

           44.         In another example is, as discussed above in the

background, the “Black Lotus” card. The Black Lotus illustration is a

depiction of a black lotus flower over a foliage backdrop as shown

here. The “Black Lotus” is notoriously connected to the Magic game.

Black Lotus card is usually considered to be the most valuable non-

promotional Magic card ever printed. In the Alpha, Beta, and

Unlimited Editions, Wizards deposited this and the other specimens

of the set for which Wizards received the registration serial

VA00005965507 dated December 13, 1993.

           45.         Cryptozoic   released   the   “Spectral   Lotus”   and

identically to the Magic card, the copied card is labeled an “artifact”

which can be played at zero cost, and grants 3 counts of energy

(“mana” in the Magic vernacular) when sacrificed. As such, the card

likewise gives the player an enormous jump in “energy” development

in the early stages of a Hex game (or “mana” development in the

early stages of a Magic game). Former Pro player and Magic writer

Zvi Mowshowitz has declared Black Lotus as the best artifact of all

time, claiming every deck in the history of the game is better with a Black Lotus in it. Cryptozoic

has further capitalized on the notoriety of the card by offering a collector card known as the

“Spectral Lotus Garden” shown here.



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           46.         Because of the number of cards copied, a list of

playing cards Cryptozoic has copied for use in the electronic game

along with the Magic cards from which elements have been copied

as well as the corresponding Magic copyrights have been attached

hereto as Appendix 1 and the allegations of copying are hereby

incorporated as if fully set out here.

           47.         Additionally, Cryptozoic had access to even the most

recent Magic cards through use of Magic Online. Apart from the

experience of the Cryptozoic principal, Jones, the developers of Hex, through playing Magic

Online, all had access to the copyrighted works. For example, through the IP Address,

207.7.98.98 which is registered to Crytozoic Entertainment Inc., one of the two defendants,

numerous hours of access to the materials are documented. In the period from May 10, 2010

through July 22, 2014, from that IP address, users having the various Magic Online account

names of “thegirdard”, “Chrosis”, “TheCollection”, “Big Dan Teague”, “thechark”, “onoval2”,

“Paladon”, “TheRoboticArm2”, “lorgalis”, “dawnyoshi”, “Chris_Woods”, “SiriHamster”,

“loveandkittens”, “Tanzan”, “Mitchell Chumley”, “Awokmyweewok”, “blinkman987”, “Judas

Iscariot Hogwallop”, “matthoff”, “Vicalis”, “acomer”, “Magician15”, “Trebolution”, and “AoX”

logged in and played Magic Onlinein excess of 765 times. Each of these pseudonyms identifies a

Crytozoic staff member playing the game from Cryptozoic equipment. For example, Magic

Online account “SirHamster” was created on April 8, 2012 and is owned by Dan Clark a

developer for Cryptozoic working on Hex as he is introduced to the public in a marketing video

(https://www.youtube.com/watch?v=3IYkKMiMsdg&safe=active). The owner of this account

has logged in twenty-four times from that same IP address: 207.7.98.98. The owner of this

account has been regular and involved in intense play, having completed thirty-seven trades and

played in 390 tournaments.The total time in playing interaction with the online game adequately

demonstrates access to the copyright registered material.


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           48.         In late 2010 or early 2011, defendant Cryptozoic Entertainment, LLC, through

their agents and employees began developing a trading card game. The play, plot, look and feel

of the game mimicked the Magic game. On April 7, 2011, Cryptozoic Entertainment, LLC and

the third party game publisher entered into a contract whereby, Cryptozoic Entertainment, LLC

would assemble and submit design proposals to the publisher which would include rules, cards,

design and description of proposed play mechanics. The publisher would then consider the

designed game as a candidate for a publishing contract. In the proposed publishing contract, the

publisher was to develop and publish the trading card game in an electronic form which would

mimic play of the Magic game as Magic is played in a paper card format. By March 30, 2012,

the publisher and Crytozoic Entertainment LLC, entered a contract identifying Cryptozoic

Entertainment, LLC as designer of the game. The parties agreed to develop the game under the

working title “Project Reckoning.” Pursuant to the agreement, the publisher would retain a third

party software developer to develop the game in accordance with the design promulgated by

Cryptozoic Entertainment, LLC.

           49.         Throughout 2012, defendant Cryptozoic Entertainment, LLC, through its

employees, agents, and contractors collaborated with the developer, directing it to develop a

software game engine into what would be known as Hex: Shards of Fate. Cryptozoic

Entertainment LLC authored numerous documents to describe the design overview, the lore, the

management of the card decks, and other details thereby to fully convey the design to developer.

In the course of development, employees and agents of Cryptozoic Entertainment LLC

repeatedly played the game to test the development and to direct the developer in further

development of the software.

           50.         On November 15, 2012, Cryptozoic Entertainment and the publisher executed a

“Common Interest Agreement between Square Enix, Inc. and Cryptozoic Entertainment LLC

regarding U.S. Patent No. RE37,957.” On December 6, 2012, Counsel for the publisher delivered

to to Cryptozoic Entertainment, LLC an “Opinion Memorandum regarding U.S. Patent No.


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RE37,957.” Cryptozoic Entertainment, LLC was aware of the existence and relevance of the

patent from at least November 15, 2012.

           51.         On December 17, 2012, the publisher gave notice to Cryptozoic Entertainment

LLC of its intent, pursuant to its terms, to terminate the Design Agreement between the publisher

and Cryptozoic Entertainment LLC. On March 20, 2013, the publisher agreed to sell the all of its

intellectual property in the Hex game as well as all art and development contracts to Cryptozoic

Entertainment LLC pursuant to what was termed an Intellectual Property Purchase Agreement.

Pursuant to that agreement, Cryptozoic Entertainment, LLC would pay the publisher to obtain all

rights to the designated intellectual property, art and development contracts, as well as the game

engine developed by developer. By this agreement, Cryptozoic could announce itself as it did in

an October 24, 2013 press release as “Cryptozoic Entertainment, developer and publisher” of

Hex: Shards of Fate.

           52.         .In March 2013 Cryptozoic Entertainment, LLC launched a “Kickstarter”

fundraising campaign to obtain funds to meet its

obligations to publisher and to support the

development and release of Hex described above.

Hex is a nearly identical game to Magic. The rules

as set forth there and on the website are identical

to those of Magic. The artwork for so many of the

cards is so clearly derived from the Magic game. For example, “The Wrath of Zakiir” card

shown here duplicates the “Form of the Dragon”

card in the Ninth Edition (VA0001360182 dated

May        24,     2006)        and   the   Scourge   Edition

(VA0001246055 dated April 19, 2004), and

shown alongside it here. Another such example is

the “Zombie” card in the Hex game duplicating


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both in its plot elements and its artwork, the Magic “Walking Corpse” (Magic 2013 Edition –

registered as VA0001868160, dated August 15, 2012 and the Innistrad Edition – registered as

VA0001860999 dated October 25, 2011).

           53.         A press release Cryptozoic issued with the Kickstarter launch states “Kickstarter

supporters of Hex will be provided with a variety of unique collectable rewards including Beta

invites for early access to the game. Depending on their pledge level, backers can receive

exclusive cards only available through the Kickstarter campaign, customizable sleeves, starter

sets, booster packs, in-game bonuses such as increased loot drops and special equipment,

exclusive access to tournaments and much more. At the highest level, “Producer Tier” backers

will receive executive producer credit, a vanity card, and the once-in-a-lifetime opportunity to

create their own personalized trading card.” The descriptions of Hex that accompany the

announcement show cards and rules that nearly identically mimic those of Magic.

           54.         The Kickstarter campaign closed and the project was successfully funded on June

7, 2013. At the reporting website, the campaign is disclosed as having far exceeded its campaign

goals (i.e. https://www.kickstarter.com/projects/cze/hex-mmo-trading-card-game/posts, which

reports that 17,765 backers pledged $2,278,255 on what had been a $300,000 goal).

           55.         On June 1, 2013, members of Cryptozoic Entertainment, LLC agreed to form

defendant Hex Entertainment, LLC. On May 13, 2014 Cryptozoic Entertainment, LLC agreed

with Square Enix to substitute Hex Entertainment, LLC as assignee of all of the intellectual

property and other assents incidental to the development of the Hex game to Hex Entertainment,

LLC and to allow Hex Entertainment, LLC to assume all of Cryptozoic Entertainment, LLC’s

rights, title, interest, duties and obligations as set forth in the March 20, 2013 assignment

agreement. To this date, Hex Entertainment, LLC has owned and controlled all play of the Hex:

Shards of Fate game.

           56.         The gaming community has been very much impressed by the similarity of the

two       games.          For       example,   one   noted   online   gamer   who    authors   a   blog


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(http://www.thresholdpodcast.com/magic-hex-mix/) reported on the Hex game which he styles,

“Threshold, the Hex Podcast.” On September 5, 2013, the author assured Magic players that they

ought to try Hex by setting forth the substantial similarities of the games one to another:


           Magic: The Gathering. For the majority of us, we’re not new to [Trading Card
           Games (“TCGs”)]. We probably have played Magic at some point in our lives that
           has led us to Hex. If we haven’t, we’ve probably heard about it… This article is
           written to help show the similarities between Magic and Hex. It’s also here to help
           those that want to learn about Hex. They can do so by playing Duels of the
           Planeswalker while they wait for the Hex alpha to hit.



           57.         The author then goes on to compare a Creature Card from Magic to a

corresponding Troop Card from Hex.

           Creature/Troop




                       Vampire Outcasts                 Corrupt Harvester

           Troops are just like creatures, they act the same way. In this example they both have
           the equivalent ability of dealing damage and gaining that much life, Lifelink vs
           Lifedrain. There are other abilities creatures can share from Magic:
           Haste = Speed


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           Flying = Flight
           Vigilance = Steadfast
           Defender = Defensive
           First Strike = Swiftstrike
           Hexproof = Spellshield
           Trample = Crush

           58.         Going still further, the author then picks up the next significant card sets, those of

Enchantments, Artifacts Sorcery and Instant Action from the Magic game and compares each,

respectively to the corresponding card sets, those of Constants, Artifacts, Basic Action, and Quick

Action from the Hex game:


           Enchantment/Constant




             Aven Shrine                                         Blessing the Fallen
           Enchantments are pretty much the same as Constants. It wouldn’t surprise me to see
           Creature Constant come along in an expansion or two. You can also have artifacts that
           give off effects like constants.




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           Artifact/Artifact




             Pyrite Spellbomb                                Sapper’s Charge
           Artifacts work the exact same way as they do in Magic. You can only cast them during
           your main phases. It wouldn’t surprise me to see cast-able equipment come along in
           the game at some point.




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           Sorcery/Basic Action




             Divination                                   Oracle Song
           Sorceries are the same as Basic Actions. They can only work on your turn during the
           main phases, and only when you have priority and there is nothing that needs to be
           resolved.




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           Instant/Quick Action




             Giant Growth                                         Wild Growth

           Instants work like Quick Actions. You can cast those at any time you have priority.



           59.         Finally, the author compares each game’s resource system and describes the actions

of the cards thus:

           Lands are the same as Resources, they’re what you use to play cards. In Magic you use
           a Forest to create 1 green mana. In Hex you use a resource to gain 1 wild (green)
           threshold which is semi equivalent to green mana, you also gain 1 resource for the turn
           and the game (1/1), and 1 charge for your champion. Every turn you gain your
           resources just like untapping your lands in Magic. Having 1 forest would allow you to
           play any card in Magic that has only 1 green mana symbol in the casting cost.

           Go back and look through the examples. You’ll see I’ve done my best to match up
           casting costs and effects. Vampire Outcasts has a converted casting cost of 4 (2
           colorless, 2 black). Corrupt Harvester has a casting cost of 4 and you need to have at
           least 2 purple threshold. 2 purple thresholds would be equivalent to having two
           swamps in play.




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             Forest                                               Wild Shard

           60.         Other users in the gaming community were confused because of the near identicality

of the two games. On Cryptozoic’s own forum a registered user, on December 1, 2013, stated, “I

have played a lot of CCGs [Collectible Card Games], and for the most part, CCGs are very similar to

each other. However, I’ve never seen a CCG that is as similar to another as Hex is to Magic.”

Another such member stated on the same day, “I am a game designer, so I can say that design-wise

Hex=Magic. Hex is not “like” Magic, Hex is Magic, with a few tweaks to take advantage of the

digital environment.” (http://forums.cryptozoic.com/showthread.php?t=24596&page=8).

           61.         The rest of the forum resonated with similar remarks. For example, on June 10, 2013,

a member stated “I'm not very worried about calling it a “clone” or not. But it is VERY similar to

Magic. I may be wrong but I feel that people who say “it's not THAT similar” or “any 2 games in the

same genre will be similar” probably don't know many TCGs. I have played many TCGs, paper and

digital, and none of them come as close to Magic as HEX. Yes, there are some digital tricks (most of

them could be made to work in Magic, although with clumsier bookkeeping required) and a slightly

different resource system, but otherwise is almost like a new skin over the same game. So the thing



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is, if HEX cannot be called a Magic clone, no other TCG can. HEX may not be a “clone” but it's the

closest to one we have in the market.”

(http://forums.cryptozoic.com/showthread.php?t=24596&page=8).

           62.         The mechanics of Hex and the graphics in the electronic interface, mimic the actions

of Magic Online and Duels. For example, functions such as duels between players are very similarly

represented in each game. In Magic, the duel appears thus:




                                    Screen shot of Duels of the Planeswalkers 2014




In Hex, the same function appears thus:




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                                      Screen shot of Hex: Shards of Fate

           63.         After announcements of the release of developmental versions of Hex, Wizards

became aware that Cryptozoic had copied both the mechanics of play and the general look and feel of

Magic. Wizards also became aware that members of the gaming community had, like those

referenced above, played the game and had determined the game to be a nearly identical copy of

Magic. Indeed, on a website hosted by Cryptozoic, itself, in its description of gameplay stated, in

response to questions about the similarity, “If it ain’t broke, don’t fix it” (see https://hextcg.com/tell-

all-your-friends).

           64.         Wizards moved to preserve and protect its intellectual property. In March of 2014,

Wizards contacted Cryptozoic and informed them of Wizards’ rights in the Magic game. On March

20, 2014, Wizards informed defendants through their common attorney, Patrick Sweeney, by

telephone and confirming email that defendants were infringing the United States Patent No. RE

37,957 (“the ‘957 patent”) and offered to resolve the infringement. Wizards offered multiple

opportunities to Cryptozoic to resolve this matter short of a formal assertion. The chart below

summarizes the nature and number of copied elements that Wizards found unacceptable




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                                Magic                                   HEX

 20 starting life                                20 starting life

 Win = remove all life or run opponent out of    Win = remove all life or run opponent out of
 cards                                           cards

 Turn cards (“tap”) to designate a card action   Turn cards (“tap”) to designate a card action
 (attack or use ability)                         (attack or use ability)

 Untap cards at the beginning of each card       Untap cards at the beginning of each card

 Creatures feature power and toughness and       Creatures feature power and toughness and
 damage resets at the beginning of every turn    damage resets at the beginning of every turn

 5 types of spells and creatures (red, blue,     5 types of spells and creatures (red, blue,
 green, white and black)                         green, white and black)

 Colorless (artifact) spells and creatures       Colorless (artifact) spells and creatures

 7 card starting hand                            7 card starting hand

 Draw 1 card per turn                            Draw 1 card per turn

 Maximum Hand Size = 7                           Maximum Hand Size = 7

 Allowed to play one resource per turn (one      Allowed to play one resource per turn (one
 mana card)                                      mana card)

 Combat (attacking and choosing blockers)        Combat (attacking and choosing blockers)

 Card resolution (first in, last out “stack”     Card resolution (first in, last out “stack”
 resolution)                                     resolution)

 Card Types and Effects                          Card Types and Effects

            Enchantment                                 Constant
            Artifact                                    Artifact
            Creature                                    Troop
            Land                                        Resource
            Instant                                     Quick Action
            Sorcery                                     Basic Action
 Rarity                                          Rarity



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     Common                                        Common
     Uncommon                                      Uncommon
     Rare                                          Rare
     Mythic Rare                                   Legendary
 Booster Pack Distribution                      Booster Pack Distribution

       1 Rare (or Mythic Rare), 3                    1 Rare (or Legendary Rare), 3
        Uncommons, 11 Commons                          Uncommons, 11 Commons
 Turn Structure                                 Turn Structure

        Untap                                       Untap
        Upkeep                                      Upkeep
        Draw                                        Draw
        First Main                                  First Main
        Combat                                      Combat
       - Declare Attackers                          - Declare Attackers
       - Declare Defenders                          - Declare Defenders
      - Assess Damage                              - Assess Damage
        Second Main                                 Second Main
        End                                         End


 Land cards referred to as “Mana”               Resource Cards referred to as “Mana”

 Deck referred to as “Library”                  Deck referred to as “Library”

 Discard pile referred to as “Graveyard”        Discard pile referred to as “Graveyard”

 Deck Size = 60 cards                           Deck Size = 60 cards

 Maximum number of cards in a deck = 4          Maximum number of cards in a deck = 4

 Mulligan Rule (redraw starting hand with one   Mulligan Rule (redraw starting hand with one
 less card; multiple times)                     less card; multiple times)

 Creatures may not be played the turn they      Creatures may not be played the turn they
 come into play (“summoning sickness”)          come into play (“summoning sickness”)

 Creature Abilities (“Card Mechanics”)          Current Hex Card Mechanics are the same as
                                                Magic

            Haste                                    Speed
            Flying                                   Flight
            Vigilance                                Steadfast


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            Defender                                             Defensive
            First Strike                                         Swiftstrike
            Hexproof                                             Spellshield
            Trample                                              Crush
            Indestructible                                       Invincible
            Lifelink                                             Lifedrain
            Bushido                                              Rage
            Bushido                                              Rage 1
            Bushido                                              Rage 2
            Bushido                                              Rage 3
            Bushido                                              Rage 4


           65.         In spite of earnest negotiations, Cryptozoic found none of the offered opportunities

acceptable. As such, the negotiations reached impasse, necessitating the instant suit.

                                          V.   FIRST CAUSE OF ACTION
                                    COPYRIGHT INFRINGEMENT [17 U.S.C. §§101, SEQ.]
           66.         Wizards repeats and realleges each and every allegations above as though fully set

forth herein. Wizards has suitably registered or applied for registration for copyrights for Magic

as set forth in Appendix 1 hereto and through Wizards’ own extensive publication of the game,

Cryptozoic has had access to the copyrighted material.

           67.         Cryptozoic intentionally copied the cards, plot, elements, circumstances, play

sequence, and flow of Magic. Players in both games are confined to the same parameters based on an

initial dealing of seven cards and play progresses in a substantially identical manner. Players must

efficiently use their skill and calculation to assemble their initial decks and then in suitable selection

and play of the various cards.

           68.         As demonstrated in more detail above and as will be shown at trial, Cryptozoic

intentionally copied the physical layout and ornamental aspects of Magic cards, the visual

presentation of each card on the screen is substantially similar to the same sort of card within the

Magic card game in either its paper or electronic versions; the sequence and flow of the game, the

scoring system used by the game, and the overall look and feel of the game are identical.




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           69.         In short, Cryptozoic has produced a nearly identical copy of Magic, including the

original selection and arrangement of multiple elements of Magic. Cryptozoic intentionally copied

Magic in a manner that willfully infringes on Wizards’ copyrights and unless Cryptozoic is enjoined,

it will continue do so. At no time did Wizards authorize Cryptozoic to reproduce, adapt, or distribute

Magic.

           70.         Further, by its sales through the Kickstarter campaign, Cryptozoic has obtained in

excess of two million dollars, a sum that constitutes one of a number of losses of related revenues

Wizards could reasonably have expected to earn.

           71.         By their willfull actions, Crytozoic, has infringed and will continue to infringe

Wizards copyrights in the Magic game by, inter alia, copying, publiclay displaying, and distributing

the Hex game and any printed playing cards associated therewith, which are substantially similar to

and derived from Magic, without any authorization or permission from Wizards.

           72.         As a direct result of Cryptozoic’s intentional actions, which constitute a willfull

infringement of Wizards’ rights, Wizards has sustained, and will continue to sustain, substantial

injury, loss, and damages in an amount exceeding $500,000.00 and as proven at trial.

           73.         Wizards is entitled to a permanent injunction restraining Cryptozoic, its officers,

directors, agents, employees, representatives, and all persons acting in concert, from engaging in

further acts of copyright infringement.

           74.         Wizards is further entitled to recover from Cryptozoic the gains, profits and

advantages Cryptozoic has obtained as a result of their acts of copyright infringement. Wizards is at

present unable to ascertain the full extent of the gains, profits and advantages Cryptozoic has

obtained by reason of their acts of copyright infringement, but Wizards is informed and believes, and

on that basis alleges, that Cryptozoic obtained such gains, profits and advantages in an amount

exceeding $500,000.00.




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                                       VI.     SECOND CAUSE OF ACTION

   (LANHAM ACT UNFAIR COMPETITION, FALSE ENDORSEMENT AND FALSE DESIGNATION OF
                                          ORIGIN [15 U.S.C. 1125(A)])
           75.         Wizards repeats and realleges each and every allegations above as though fully set

forth herein.

           76.         Cryptozoic deliberately and intentionally copied the game play, rules, player

interaction with the game, layout and arrangement, visual presentation, sequence and flow,

scoring system, and Magic’s overall look. By duplicating the “total image and overall

appearance of a product,” Cryptozoic has copied Magic’s particular trade dress, the copying of

which shows confusion among Wizards’ customers.

           77.         The distinctive design of the Magic cards is not functional as it is not essential to

the use or purpose of the game nor does the design affect the cost or quality of the cards; the

design is merely an ornamental arrangement of features, some of which are functional.For these

reasons the distinctive design of the Magic cards and the arrangement of features are protectable

as trade dress in either the paper or electronic versions of Magic.

           78.         The Wizards trade dress in the Magic game is non-functional and is inherently

distinctive or has acquired distinction within the meaning of the Lanham Act.

           79.         Through their intentional use of the misleading design and look-and-feel of the

Hex game, Defendant Cryptozoic is knowingly and intentionally misrepresenting and falsely

designating to the general public the affiliation, connection, association, origin, source,

endorsement, sponsorship and approval of Hex, and intends to misrepresent and falsely designate

to the general public the affiliation, connection, association, origin, source, endorsement,

sponsorship and approval of the Hex game, so as to create a likelihood of confusion by the public

as to the affiliation, connection, association, origin, source, endorsement, sponsorship and

approval of the Hex game. At no time did Wizards authorize Cryptozoic to reproduce, adapt, or

distribute Magic.


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           80.         Through their intentional use of the misleading design and look-and-feel of Hex,

Cryptozoic is knowingly and intentionally misrepresenting and falsely designating to the general

public the affiliation, connection, association, origin, source, endorsement, sponsorship and

approval of Hex, and intends to misrepresent and falsely designate to the general public the

affiliation, connection, association, origin, source, endorsement, sponsorship and approval of

Hex by Wizards, so as to create a likelihood of confusion by the public as to the affiliation,

connection, association, origin, source, endorsement, sponsorship and approval of Hex.

           81.         Cryptozoic’s conduct has been intentional and willful, and is calculated

specifically to trade off the goodwill that Wizards has developed in its successful Magic games,

making this an exceptional case under 15 U.S.C. § 1117.

           82.         The aforesaid acts of Cryptozoic constitute false designation of origin, false

endorsement, and unfair competition in violation of 15 U.S.C. § 1125(a)(1)(A).

           83.         Further, by its sales through the Kickstarter campaign, Cryptozoic has obtained in

excess of two million dollars, a sum that constitutes one of a number of losses of related

revenues Wizards could reasonably have expected to earn.

           84.         As a direct result of Cryptozoic’s actions infringing Wizards’ trade dress rights,

Wizards has sustained, and will continue to sustain, substantial injury, loss, and damages in an

amount exceeding $500,000.00 and as proven at trial. Wizards is entitled to a permanent

injunction restraining Cryptozoic, its officers, directors, agents, employees, representatives, and

all persons acting in concert, from engaging in further acts of trade dress infringement.




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                                        VII.    THIRD CAUSE OF ACTION

       (LANHAM ACT UNFAIR COMPETITION, TRADE DRESS DILUTION [15 U.S.C. 1125(C)])
           85.         Wizards repeats and realleges each and every allegations above as though fully set

forth herein.

           86.         The Magic trade dress is famous and it is distinctive. It has existed in the market

for over twenty years before the existence of the Hex game that duplicates its trade dress and

Cryptozoic has introduced Hex with its duplicative trade dress into the market after the Magic

trade dress became famous.

           87.         After Wizards Cryptozoic deliberately and intentionally copied the game play,

rules, player interaction with the game, layout and arrangement, visual presentation, sequence

and flow, scoring system, and Magic’s overall look. By duplicating the “total image and overall

appearance of a product,” Cryptozoic has copied Magic’s particular trade dress, the introduction

of Hex has diluted the trade dress that Wizards through its promotion of the Magic game has

suitably nurtured into “famous” status.

           88.         The distinctive design of the Magic cards is not functional as it is not essential to

the use or purpose of the game nor does the design affect the cost or quality of the cards; the

design is merely an ornamental arrangement of features, some of which are functional.For these

reasons the distinctive design of the Magic cards and the arrangement of features are protectable

as trade dress in either the paper or electronic versions of Magic.

           89.         The Wizards trade dress in the Magic game is non-functional and is inherently

distinctive or has acquired distinction within the meaning of the Lanham Act.

           90.         Through their intentional duplication and introduction of the Magic trade dress

into commerce, Defendant Cryptozoic is knowingly and intentionally diluted in the eyes of the

general public the famous trade dress Magic comprises.




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           91.         Cryptozoic’s conduct has been intentional and willful, and is calculated

specifically to trade off the goodwill that Wizards has developed in its successful Magic games,

making this an exceptional case under 15 U.S.C. § 1117.

           92.         The aforesaid acts of Cryptozoic constitute false designation of origin, false

endorsement, and unfair competition in violation of 15 U.S.C. § 1125(a)(1)(A).

           93.         Further, by its sales through the Kickstarter campaign, Cryptozoic has obtained in

excess of two million dollars, a sum that constitutes one of a number of losses of related

revenues Wizards could reasonably have expected to earn.

           94.         As a direct result of Cryptozoic’s actions diluting Wizards’ trade dress rights,

Wizards has sustained, and will continue to sustain, substantial injury, loss, and damages in an

amount exceeding $500,000.00 and as proven at trial. Wizards is entitled to a permanent

injunction restraining Cryptozoic, its officers, directors, agents, employees, representatives, and

all persons acting in concert, from engaging in further acts of trade dress dilution.



                                    VIII. FOURTH CAUSE OF ACTION

                 (PATENT ACT – PATENT INFRINGEMENT; [35 U.S.C. 271(A), (B), AND (C)])
           95.         Wizards repeats and realleges each and every allegations above as though fully set

forth herein.
           96.         In 1997, Wizards received Letters Patent denominated United States Patent No.

5,662,332 (“the ‘332 patent”) on that inventive game, rules and playing cards, and then received

the subsequent reissue as United States Patent No. RE 37,957 (“the ‘957 patent”). The ‘957

patent issued with 60 claims, including over 25 independent claims, that cover both a card game

that uses trading cards and a method of playing the game as describe above. Wizards has owned

the patent throughout the period of the defendant's infringing acts and still owns the patent.

Wizards has also marked the patent number(s) on the physical products.




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           97.         Defendants Cryptozoic Entertainment, LLC and its successor in interest, Hex

Entertainment LLC were aware of the existence and relevance of the ‘957patent from at least

November 15, 2012.

           98.         Cryptozoic Entertainment LLC and its successor in interest Hex Entertainment

LLC have intentionally and willfully infringed the ‘957 patent by making, selling, and using the

cards and methods that embody the patented invention.

           99.         Cryptozoic Entertainment LLC and its successor in interest Hex Entertainment

LLC have developed a game engine software to enforce a set of rules that governs the display,

selection, movement, play and results of play of cards in a manner that infringes the ‘957 patent.

Defendants offered access to the game engine software with the intent that members of the

public (“Players”) would play the game and Defendants could make no money from the

development of the game, if Players did not play the game. Thus, there exists no substantial non-

infringing use of the game engine software Defendants provide. Cryptozoic Entertainment, LLC

and its successor in interest, Hex Entertainment LLC intentionally contributorily infringed the

‘957 Patent.

           100.        In videos available to the public, Cryptozoic Entertainment, LLC and its

successor in interest, Hex Entertainment LLC taught Players how to play the Hex: Shards of Fate

game; Defendants authored and placed extensive instructions for use of the Hex game engine

software on Internet sites, which, if followed, would result in infringement of the ‘957 Patent.

Defendants have promoted the use of the game engine software through, at least, the Kickstarter

campaign alleged above, as well as through advertisement and paid social media placement.

Cryptozoic Entertainment, LLC and its successor in interest, Hex Entertainment LLC have

intentionally induced Player to infringe the ‘957 Patent.

           101.        Wizards has complied with the statutory requirement of placing a notice of the

‘957 patent on all sets of cards it manufactures and sells either electronically or in paper

embodiments, and has given Cryptozoic written notice of the infringement.


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           102.        Wizards is further entitled to recover from Cryptozoic the gains, profits, and

advantages Cryptozoic has obtained as a result of their violation of the Patent Act. Wizards is at

present unable to ascertain the full extent of the gains, profits, and advantages Cryptozoic has

obtained by reason of their acts of patent infringement, but Wizards is informed and believes,

and on that basis alleges, that Cryptozoic obtained such gains, profits, and advantages in an

amount exceeding $500,000.00.
                                          IX.    PRAYER FOR RELIEF
           WHEREFORE, Wizards prays for judgment against Cryptozoic as follows:
           1.          For a permanent injunction enjoining Cryptozoic and all persons acting in concert

with them from manufacturing, producing, distributing, adapting, displaying, advertising,

promoting, offering for sale or selling, or performing any materials that are substantially similar

to Magic and to deliver to the Court for destruction or other reasonable disposition all materials

and means for producing the same in Cryptozoic’s possession or control;

           2.          For a permanent injunction, enjoining Cryptozoic and all persons acting in concert

with them from using the trade dress of Magic in connection with any paper, electronic, or web-

based trading card video game or from otherwise using Wizards’ trade dress, as embodied in

either of the paper or electronic forms of Magic or any confusingly similar use thereof, in any

way causing the likelihood of confusion, deception, or mistake as to the source, nature, or quality

of Cryptozoic’s games and to deliver to the Court for destruction or other reasonable disposition

all materials bearing the infringing trade dress in Cryptozoic’s possession or control;

           3.          For any and all damages sustained by Wizards;

           4.          For all of Cryptozoic’s profits wrongfully derived from its intentionally and

willful infringement of Wizards’ intellectual property rights;

           5.          For a Judgment against Cryptozoic declaring this case to be exceptional under the

Patent Act and therefore subjecting Cryptozoic to liability to include treble damages as

authorized under Section 285 of the Patent Act;


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           6.          For reasonable attorney’s fees;

           7.          For costs of suit herein; and

           8.          For other such relief as the Court deems proper.




RESPECTFULLY SUBMITTED this 5th day of August, 2015.




                                                            ___________________________
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                                          CERTIFICATE OF SERVICE

I, Jean M. Larsen, hereby certify that I am an employee of Lowe Graham Jones PLLC and that
on August 5, 2015 I electronically filed the foregoing SECOND AMENDED COMPLAINT
FOR COPYRIGHT, PATENT AND TRADE DRESS INFRINGEMENT and this
CERTIFICATE OF SERVICE with the Clerk of the Court using the CM/ECF system, which
upon information and believe will send notification of such filing to the following attorneys of
record:

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                                             and Hex Entertainment, LLC


                                               s/Jean M. Larsen
                                               Jean M. Larsen, Paralegal




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